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     • En Español
     •
     • Bằng Tiếng Việt

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 SECTION 1 - GENERAL INFORMATION ABOUT THE GULF COAST CLAIMS FACILITY



 1. What is the Gulf Coast Claims Facility?

 After the Deepwater Horizon incident on April 20, 2010 (the “Spill”), BP was designated by the U.S.




                                                                                                           GCCF FAQs, http://www.gulfcoastclaimsfacility.com/faq (last visited Feb.
 Coast Guard as a “responsible party” under the Oil Pollution Act of 1990 (“OPA”). Pursuant to OPA,
 BP as a responsible party was required to establish a procedure for the payment or settlement of
 claims for costs and damages incurred as a result of the Spill. BP established such a procedure, but
 subsequently, on June 16, 2010, the White House issued a press release announcing that (1) BP would
 replace its claims facility with a new and different claims facility which is now called the Gulf Coast
 Claims Facility (“GCCF”), and (2) BP would establish a $20 billion escrow fund to fulfill its claims
 processing obligations under OPA. Kenneth R. Feinberg was selected to be the third-party
 administrator of the GCCF.

 The GCCF accepts and where possible resolves claims of Individuals and Businesses for costs and
 damages incurred as a result of the Spill. In fulfilling these obligations, the GCCF and Mr. Feinberg
 as Claims Administrator are acting for and on behalf of BP in order to fulfill BP’s statutory
 obligations as a responsible party under OPA; however, the GCCF and Mr. Feinberg exercise their
 own judgment with respect to the evaluation and payment of claims.

 No one at the GCCF can give you personal legal advice or advise you regarding settlement of any
 claims, including whether to file a claim with the GCCF or the worth of any claim you may have. No
                                                                                                           18, 2011).
                                                                                                           Ex. 8




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 one at the GCCF can represent you. You have the right to consult with an attorney of your choosing
 prior to accepting any settlement from the GCCF or signing a release of legal rights. If you wish to
 consult a lawyer you should do so. If you would like to consult with an attorney and you cannot afford
 one, free legal help is available for the GCCF Interim or Final Claims Process, through a network of
 nonprofit civil legal service organizations in Alabama, Florida, Louisiana, Mississippi and Texas. The
 free legal services program is being administered by the Mississippi Center for Justice, a nonprofit,
 public interest law firm, whose funding for this purpose will be provided by BP. See Section Two
 below for more information. The free legal services program will not be providing assistance for
 litigation or claims filed with the Coast Guard National Pollution Funds Center.

 2. How is the GCCF different from the previous BP claims facility?

 The GCCF and the Claims Administrator have been given the responsibility to make their own
 judgments regarding the evaluation and payment of claims, and in particular what, if anything, would
 be a fair and reasonable payment or offer of payment to a claimant. BP no longer makes those
 judgments.

 3. I already submitted a claim to BP. What should I do?

 If you have previously filed a claim with BP, all of the information you included in your claim to BP
 as well as the documents you submitted have been transferred to the GCCF. Although the GCCF now
 has the documents and information you submitted to BP, you must complete a GCCF Claim Form to
 apply for any payments from the GCCF if you have not done so before now. You will be assigned a
 new GCCF Claimant Identification Number.

 4. Can I still file a claim with BP?

 No. As of August 23, 2010, all claims must be filed with the GCCF. The GCCF has replaced the BP
 claims process. Individuals and Businesses should no longer present claims to BP.

 5. English is not my first language. Are there translation services available?

 You can call the Toll Free Number 1-800-916-4893 and ask for assistance in another language. In
 addition, translators in the following languages are available at these Claims Site Offices:

    1. For Spanish:

       Bayou La Batre, AL
       Biloxi, MS
       Clearwater, FL
       Cut Off, LA
       Foley, AL
       Galveston, TX
       Grand Isle, LA
       Gretna/Belle Chasse, LA
       Gulf Breeze, FL
       Houma, LA
       Key Largo, FL
       Key West, FL
       Lafitte, LA
       Marathon, FL
       Mobile, AL


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       Naples, FL
       New Iberia, LA
       New Orleans East, LA
       Orange Beach, AL
       Panama City Beach, FL
       Pascagoula, MS
       Pensacola, FL
       Pointe a la Hache, LA
       Santa Rosa Beach, FL
       Slidell, LA
    2. For Vietnamese:

       Bayou La Batre, AL
       Bay St. Louis, MS
       Biloxi, MS
       Galveston, TX
       Gretna/Belle Chasse, LA
       Houma, LA
       Lafitte, LA
       Morgan City, LA
       Mobile, AL
       New Iberia, LA
       New Orleans East, LA
       Pascagoula, MS
       Slidell, LA
       St. Bernard, LA
       Venice, LA
    3. For Khmer:

       Venice, LA

 6. Who are the staff members who work in the Claims Site Offices?

 Staff members at the Claims Site Offices include professionals and other community representatives.
 All staff members at the Claims Site Offices are subcontractors of the GCCF. BP provides the funding
 for the expenses of the administration of the GCCF, including compensation for GCCF
 subcontractors.

 7. What should I do if I have information about a potentially fraudulent claim?

 You should call the Department of Justice National Center for Disaster Fraud hotline number: 877-
 623-3423.

 8. What should I do if I move?

 If you move, you should contact us as soon as possible to ensure that you receive all communication
 and/or payments to which you are entitled. The quickest way to reach us is by emailing us at
 info@gccf-claims.com. You may also fax a letter to 1-866-682-1772, or mail a letter to:

 GULF COAST CLAIMS FACILITY
 P.O. BOX 9658
 Dublin, OH 43017-4958


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 SECTION 2 - ATTORNEY REPRESENTATION



 9. Do I need to hire a lawyer to help me with my claim?

 You do not have to hire a lawyer to submit a claim to the GCCF. You have the right to be represented
 by a lawyer of your choosing and to consult with that lawyer before accepting any settlement or
 signing a release of legal rights. If you are represented by a lawyer, the GCCF will communicate with
 your lawyer rather than directly with you. The GCCF also provides access to free legal assistance that
 is independent of the claims process.

 10. I would like to have a lawyer represent me in the GCCF claims process, but I cannot afford
 one. Are there any free legal services available?

 Yes. Free legal help is available for the GCCF Interim or Final Claims Process, through a network of
 nonprofit civil legal service organizations in Alabama, Florida, Louisiana, Mississippi and Texas. The
 free legal services program is being administered by the Mississippi Center for Justice, a nonprofit,
 public interest law firm. The free legal services program will not be providing assistance for litigation
 or claims filed with the Coast Guard National Pollution Funds Center.

 If you would like to request free legal assistance, you should contact the legal services organizations
 in your state.

 The contact information for each state is:

 Alabama      866-456-4995, press 6
 Services provided by Legal Services Alabama

 Florida    855-299-1337
 Services provided by Legal Services of North Florida and North Florida Center for Equal Justice

 Louisiana 504-355-0970 if you are in Orleans or Jefferson Parish. Outside those areas, call 800-310
 -7029. Or, e-mail your name, telephone number and a brief description of the help you are seeking to:
 oil.spill.info@laciviljustice.org.
 Services provided by Louisiana Civil Justice Center, Louisiana Justice Institute, Moving Forward
 Gulf Coast, The Pro Bono Project of New Orleans, and Southeast Louisiana Legal Services

 Mississippi    888-725-5423
 Services provided by Mississippi Center for Justice, Mississippi Center for Legal Services and
 Mississippi Volunteer Lawyers Project

 Texas     800-733-8394
 Services provided by Lone Star Legal Aid

 You can also request free legal help by sending an email to LegalAssistance@GCCF-Claims.com or
 calling the toll-free number 1-800-916-4893 and asking for the Legal Services Escalation Team.



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 11. Who is the Mississippi Center for Justice?

 The Mississippi Center for Justice is a nonprofit, public interest law firm committed to advancing
 racial and economic justice. Supported and staffed by attorneys, community leaders and volunteers,
 the Center develops and pursues strategies to combat discrimination and poverty statewide. To
 provide the claims assistance, the Center contracts with eleven other nonprofit legal services
 organizations in the five Gulf States.

 12. How are the free legal services from the Mississippi Center for Justice being paid?

 The funding for this program comes from BP. However, the Mississippi Center for Justice and the
 nonprofit civil legal service organizations providing the free legal help have no other connection to
 BP or GCCF. The funding does not affect the advice that a lawyer at any of the legal services
 organizations gives a claimant. Neither GCCF nor BP will interfere with the independent,
 professional judgment of any of the legal services attorneys.

 13. I am represented by a lawyer and I want to file a claim. What should I do?

 If you are currently represented by a lawyer in connection with any claim you believe you may have
 against BP, you should not submit a claim until you have conferred with your lawyer about the
 decision to submit it and about your answers to its questions. If you then choose to submit a claim,
 you should have your lawyer submit the claim for you. The claim form requests contact information
 for your lawyer. After receipt of such contact information we will respond directly to him or her.

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 SECTION 3 - CLOSING THE EMERGENCY ADVANCE PAYMENT PROGRAM



 14. Can I still apply for an Emergency Advance Payment?

 No. From August 23, 2010, through November 23, 2010, Claimants could submit claims to the GCCF
 for Emergency Advance Payments to receive emergency relief for damages caused by the Spill. The
 deadline to file a claim for an Emergency Advance Payment passed on November 23, 2010. It is too
 late now to apply for an Emergency Advance Payment. Claimants who suffered losses or injuries as a
 result of the Spill can now apply for a Final Payment or an Interim Payment.

 15. What if I applied for an Emergency Advance Payment and have not heard about the
 outcome of that claim?

 If you have not heard about the final outcome on your EAP claim, you will hear soon. The GCCF is
 finishing the evaluation of all the EAP claims soon.

 16. What if I applied for an Emergency Advance Payment after the November 23, 2010
 deadline?

 Such a claim is late and will not be processed. If you want to seek any benefits now from the GCCF,
 you must apply for a Full Review Final Payment or an Interim Payment.



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 17. What types of payments are available now?

 A Claimant who has been paid an Emergency Advance Payment has the option to receive a Quick
 Payment from the GCCF of $5,000 for Individual Claimants and $25,000 for Business Claimants
 without having to submit any more documents or undergoing any more claims review.

 Any Claimant who suffered losses or injuries as a result of the Spill can now apply for:

    1. A Full Review Final Payment Claim, to be paid, if eligible, for all past losses caused by the
       Spill and all future losses caused by the Spill.
    2. An Interim Payment Claim, for all past losses caused by the Spill.

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 SECTION 4 - INFORMATION ON QUICK PAYMENT FINAL CLAIMS




 18. What is a Quick Payment Final Claim?

 A Quick Payment Final Claim is the opportunity for a Claimant who has been paid an Emergency
 Advance Payment by the GCCF to sign a Release and within 14 days be paid $5,000 if an Individual
 Claimant or $25,000 if a Business Claimant without having to submit any more documents or go
 through any more claims review.

 In addition, a Claimant found eligible for an Interim Payment, even though never paid an Emergency
 Advance Payment, will also have the opportunity to accept a Quick Payment.

 19. Who is eligible for a Quick Payment?

 A Claimant who has been paid an Emergency Advance Payment from the GCCF of any kind can
 receive a Quick Payment. Thus any Claimant who has been paid an Emergency Advance Payment by
 the GCCF on a Lost Income, Property Damage, Removal and Clean Up, Loss of Subsistence Use, or
 Physical Injury/Death claim can receive a Quick Payment.

 In addition, a Claimant found eligible for an Interim Payment, even though never paid an Emergency
 Advance Payment, will also have the opportunity to accept a Quick Payment.

 20. What if my Emergency Advance Payment claim has not been finished?

 The GCCF will finish the review of all Emergency Advance Payment claims and will notify all
 Claimants of the outcome on their claims. If you are found eligible and get paid an Emergency
 Advance Payment, you have the opportunity to submit a Quick Payment Claim.

 21. What if I was paid by BP but have not been paid by the GCCF?

 You are not eligible for a Quick Payment. You can receive a Quick Payment only if you were paid an
 Emergency Advance Payment by the GCCF or an Interim Payment by the GCCF.



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 22. How do I apply for a Quick Payment?

 You have to fill out, sign and send back to the GCCF a Quick Payment Claim Form. You must also
 sign the Release and Covenant Not to Sue. You should not elect the Quick Payment Final Claim
 process unless you are willing to accept the fixed payment of $5,000 for individuals and $25,000 for
 businesses and to sign a full release of liability.

 23. How do I get a Quick Payment Claim Form?

 If you have been paid an Emergency Advance Payment, the GCCF will mail you a packet containing
 the Quick Payment Claim Form and the Release and Covenant Not to Sue that must be signed to
 receive a Quick Payment. The GCCF will pre-fill the Quick Payment Claim Form with your name
 and address. If you have been paid an Emergency Advance Payment, you may download the Quick
 Payment Claim Form and the Release and Covenant Not to Sue from the GCCF website or you may
 also go to a Claims Site Office and have the Quick Payment Claim Form and the Release and
 Covenant Not to Sue printed for you.

 If your address has changed since your Emergency Advance Payment was paid, be sure that the
 GCCF has your correct current mailing address.

 If you do not receive that packet from the GCCF in the mail, you may call the GCCF Toll Free
 Number 1-800-916-4893 or email us at info@gccf-claims.com to ask that the packet be sent to you.

 24. Do I have to submit any more documents on my damages to be paid a Quick Payment?

 No. All you have to do is send in a signed Quick Payment Claim Form and Release and Covenant Not
 to Sue. You do not have to submit any more documents on your losses or damages.

 25. Do I have to sign a Release to be paid a Quick Payment?

 Yes. The Quick Payment Final Claim option requires you to release and waive any claims that you
 have or may have in the future against BP and all other potentially responsible parties with regard to
 the Spill or to submit any claim for payment to the National Pollution Funds Center, the Coast Guard
 office responsible for evaluating and approving Oil Pollution Act claims, or in court. The Quick
 Payment Claim Form contains important information to read before signing the Release and Covenant
 Not to Sue. You have the right to consult with an attorney of your choosing before accepting any
 settlement or signing a release of legal rights.

 26. Who has to sign the Quick Payment Claim Form and the Release?

 Individual Claimants must personally sign the Quick Payment Claim Form and the Release and
 Covenant Not to Sue. If the Individual Claimant is married, the Claimant’s spouse also must sign the
 Release and Covenant Not to Sue. If an Individual Claimant is deceased, is a legal minor under the
 law of the state or jurisdiction where the Claimant lives, or is not legally competent to sign, the
 Claimant’s authorized legal representative must sign. That representative must also submit a copy of
 the document issued by a court or other official that appointed the representative to act on behalf of
 the Claimant, or must sign an Affidavit required by the GCCF to show authority to act. See Section
 VII of the Gulf Coast Claims Facility Required Documents for what is required to prove the authority
 to act.

 The authorized officer or other representative of a Business Claimant must personally sign the Quick
 Payment Claim Form and the Release and Covenant Not to Sue. If the business is a sole


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 proprietorship owned by a married individual, or if the business is jointly owned by a married couple,
 the individual’s spouse also must sign the Quick Payment Claim Form and the Release and Covenant
 Not to Sue.

 27. I want to file my own claim for my own damages. In order for my spouse to receive a
 payment for his or her Quick Payment Final Claim, I have to sign the Release. Am I releasing
 my right to file my own separate claim for my own damages?

 No. Your signature on the Release applies to your spouse’s claim (or to the claim of a business owned
 by your spouse or a business jointly owned by you and your spouse), not to a separate claim you
 might have.

 28. Can I change anything in the Release?

 No. If you mark through or strike out anything in the Release and Covenant Not to Sue, or you add
 any language to it, the GCCF cannot accept it and cannot pay you a Quick Payment.

 29. How long will it take for me to get a Quick Payment?

 The GCCF will send you your payment within 14 days after the GCCF receives your properly
 completed Quick Payment Claim Form and properly signed Release and Covenant Not to Sue.

 30. How long do I have to apply for a Quick Payment?

 If you have received an Emergency Advance Payment or an Interim Payment, you may submit a
 Quick Payment Final Claim at any time before the close of the GCCF Program on August 22, 2013.

 31. Will any deductions be taken out of my Quick Payment before it is sent to me?

 Your $5,000 Individual Quick Payment or $25,000 Business Quick Payment will not be reduced for
 any prior payments to you by BP or by the GCCF, or by any amounts you have received from
 unemployment compensation or any insurance or other program. The only deductions that will be
 made from a Quick Payment will be for any legally authorized liens, garnishments or other
 attachments against you that the GCCF has received.

 32. Where will my Quick Payment be sent?

 The GCCF will send Quick Payments by wire transfer or by a check mailed to you. You will indicate
 in the Quick Payment Claim Form how you want your payment to be made and where it is to be sent.

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 SECTION 5 - INFORMATION ON FULL REVIEW FINAL PAYMENT CLAIMS



 33. If I am not eligible for a Quick Payment or decide not to choose the Quick Payment option,
 what kind of payments can I seek now from the GCCF?

 Any Claimant who suffered losses or injuries as a result of the Spill can now apply to the GCCF for:


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    1. A Full Review Final Payment Claim, to be paid, if eligible, for all past losses caused by the
       Spill and all future losses caused by the Spill.
    2. An Interim Payment Claim, to be paid once a quarter, if eligible, for all past losses caused by
       the Spill. A Claimant found eligible for an Interim Payment will also have the opportunity to
       accept a Quick Payment or a Final Payment instead.

 34. What is a Full Review Final Payment?

 If you do not choose or are not eligible for the Quick Payment Final Claim option, you may elect to
 submit a Full Review Final Payment Claim to receive a lump sum single payment for all documented
 losses and damages, both past and future, caused to you by the Spill.

 35. Who can apply for a Full Review Final Payment?

 Any Claimant who suffered losses or injuries as a result of the Spill can now apply for a Full Review
 Final Payment Claim, to be paid, if eligible, for all past losses caused by the Spill and all future losses
 caused by the Spill. You can still submit a Full Review Final Payment Claim even if: (a) you received
 payments from BP or from the GCCF on an Emergency Advance Payment Claim; (b) you submitted
 an Emergency Advance Payment Claim that was denied (other than as an excluded Government, Real
 Estate Agent or Broker, Oil Rig Moratorium claim or a claim for property damage that occurred
 during the Vessels of Opportunity Program); or (c) you have not previously asserted a claim to BP or
 to the GCCF.

 36. What types of claims can I submit on a Full Review Final Payment Claim?

 If you suffered damages or injuries caused by the Spill and are eligible to apply for a Full Review
 Final Payment, you can submit a Full Review Final Payment Claim for the same types of claims for
 which Claimants could seek Emergency Advance Payments: Removal and Clean Up Costs, Damage
 to Real or Personal Property, Lost Earnings or Profits, Loss of Subsistence Use of Natural Resources
 (Individuals only), or Physical Injury or Death (Individuals only).

 37. How do I apply for a Full Review Final Payment?

 You have to fill out, sign and send back to the GCCF a Full Review Final Payment Claim Form,
 along with documents to support your claim if you have not previously submitted those documents. If
 you previously submitted an Emergency Advance Payment Claim to the GCCF, the GCCF will mail
 you a packet containing the Full Review Final Payment Claim Form. If you do not get that packet, see
 Section 8 – How to File a Full Review Final Payment Claim or an Interim Payment Claim for the
 steps on how to get the Full Review Final Payment Claim Form and how to submit it to the GCCF.

 38. I have already submitted a Final Claim Form. Do I have to submit a new one?

 No. You do not need to submit a new Full Review Final Payment Claim Form, though you can do so
 if you would like to change anything about your claim. You should review the Gulf Coast Claims
 Facility Document Requirements and you should submit any and all required documents that you
 have not previously submitted. You do not need to resubmit documentation or information that you
 have already submitted.

 39. What kind of losses will be paid on a Full Review Final Payment Claim?

 A Full Review Final Payment will include all past losses or injuries caused to you by the Spill and
 any future losses or injuries you may incur, if any, as a result of the Spill. The Full Review Final


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 Payment Claim evaluation and determination will include a review of the calculation of any previous
 Emergency Advance Payments. If appropriate, the GCCF will adjust the calculation and include any
 additional compensation due as part of the Final Payment Offer.

 40. Do I have to submit documents to be paid a Full Review Final Payment?

 Yes. To be considered for a Full Review Final Payment, you must submit documents that prove the
 losses or injuries you claim you suffered as a result of the Spill. A Full Review Final Payment Claim
 requires complete substantiation and documentation of all damages sustained in the past. You may
 choose to provide documents that support amounts claimed as future damages as a result of the Spill,
 including documents demonstrating the manner in which such future damages have been calculated,
 the period of time for which they are claimed, and any expert reports or other analyses on which the
 calculation is based. The GCCF will perform a complete analysis of all existing and newly submitted
 documentation to compute, determine and pay all past and future damages. The GCCF will rely upon
 any documentation you submit and analyses and documentation provided to the GCCF by experts
 retained by the GCCF to determine the damages, if any. See the Gulf Coast Claims Facility Document
 Requirements list for details on the documents required for each Claim Type you can assert on a Full
 Review Final Payment Claim. If you previously submitted documents to the GCCF, you do not have
 to send them in again, but you must make sure that you have submitted everything required by the
 Gulf Coast Claims Facility Document Requirements list and you must submit any new documents for
 any time period not covered by what you previously submitted.

 41. What if my claim is missing any documents needed to prove my Full Review Final Payment
 Claim?

 The GCCF will perform a complete analysis of all existing and newly submitted documentation to
 compute, determine and pay all past and future damages. If the GCCF does not have all the
 documents from you needed to be able to evaluate your claim, the GCCF will send you a deficiency
 notice telling you what is missing and giving you a period of time to submit those documents.

 42. How will future damages be determined on a Full Review Final Payment Claim?

 Claimants who submit a Full Review Final Payment Claim may submit documents that support
 amounts claimed as future damages as a result of the Spill, including documents demonstrating the
 manner in which such future damages have been calculated, the period of time for which they are
 claimed, and any expert reports or other analyses on which the calculation is based. The GCCF will
 rely upon any documentation you submit and analyses and documentation provided to the GCCF by
 experts retained by the GCCF to determine the damages, if any, payable to you as future damages for
 losses or injuries caused by the Spill.

 43. The Full Review Final Payment Claim information says that the claim includes any claim
 for future damages. How far into the future can I claim damages?

 Your Full Review Final Payment Claim includes ALL of your future damages, if any. If you have any
 documentation or information regarding any future damages you may incur due to the Spill you
 should include all of this documentation and information. In order to receive a payment of your Full
 Review Final Payment Claim you will have to sign a Release that releases all of your past and future
 damages in exchange for a liquidated amount.

 44. Will any deductions be taken out of my Full Review Final Payment?

 Yes. The following amounts will be deducted from your Full Review Final Payment.


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    1. Any prior payments to you by BP, by the Coast Guard, or by the GCCF for losses due to the
       Spill.
    2. If you make a claim for Lost Individual Earnings, any amounts you have received from
       unemployment compensation, as severance pay or any other employment benefit since the
       Spill.
    3. On any Lost Income claim from an Individual Claimant or a Business Claimant, amounts you
       have received since the Spill from any insurance or other program as replacement income.
    4. Payments from insurance for the losses on injuries for which you seek benefits on Removal and
       Clean Up Costs, Damage to Real or Personal Property, Loss of Subsistence Use of Natural
       Resources, or Physical Injury or Death.
    5. Amounts needed to pay any liens, garnishments or other attachments against you that the GCCF
       has received.

 However, amounts you have received from charities will not be deducted from your Full Review
 Final Payment.

 45. If I qualify, how will I get the offer on my Full Review Final Payment Claim?

 Your Final Payment Offer will be an offer of a lump sum amount for all past and future damages
 based upon specific documentation received and expert analysis of future damages. You will have an
 opportunity to discuss your Final Payment Offer with a member of the GCCF Senior Evaluation
 Team and/or a member of the Accounting Team. This Final Payment Offer will be valid for 90 days.
 If you have not accepted this Final Payment Offer during the 90-day period, the GCCF will re-
 evaluate any later submission or request for a Final Payment Offer you may make to reflect additional
 information and less uncertainty, regarding your damages.

 46. Do I have to sign a Release to be paid a Full Review Final Payment?

 Yes. To be paid on a Full Review Final Payment Claim, you will have to release and waive any
 claims that you have or may have in the future against BP and all other potentially responsible parties
 with regard to the Spill or to submit any claim for payment to the National Pollution Funds Center,
 the Coast Guard office responsible for evaluating and approving Oil Pollution Act claims, or in court.
 The Full Review Final Payment Claim Form contains a sample of that Release and Covenant Not to
 Sue. If you qualify for a Full Review Final Payment, the GCCF will send you a Final Payment Offer
 based on the GCCF’s review and evaluation of the Full Review Final Payment Claim, along with a
 Release and Covenant Not to Sue for you to sign if you accept the Final Payment Offer. If you accept
 the Final Payment Offer, you must sign the Release and Covenant Not to Sue and return it to the
 GCCF. A separate Release will be required for Claimants who have received a Final Payment Offer
 for claims for physical injury or death. You have the right to consult with an attorney of your
 choosing before accepting any settlement or signing a release of legal rights.

 47. Who has to sign the Release on a Full Review Final Payment Claim?

 Individual Claimants must personally sign the Release and Covenant Not to Sue. If the Individual
 Claimant is married, the Claimant’s spouse also must sign the Release and Covenant Not to Sue. If an
 Individual Claimant is deceased, is a legal minor under the law of the state or jurisdiction where the
 Claimant lives, or is not legally competent to sign, the Claimant’s authorized legal representative must
 sign. That representative must also submit a copy of the document issued by a court or other official
 that appointed the representative to act on behalf of the Claimant. If such documents have not been
 issued, the representative must sign an Affidavit required by the GCCF to show authority to act. See
 Section VII of the Gulf Coast Claims Facility Required Documents for what is required to prove the
 authority to act.


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 The authorized officer or other representative of a Business Claimant must personally sign the
 Release and Covenant Not to Sue. If the business is a sole proprietorship owned by a married
 individual, or if the business is jointly owned by a married couple, the individual’s spouse also must
 sign the Release and Covenant Not to Sue.

 48. I want to file my own claim based on my own damages. In order for my spouse to receive
 payment for his/her Full Review Final Claim I have to sign the Release. Am I releasing my right
 to file my own separate claim based on my own damages?

 No. Your signature on the Release applies to your spouse’s claim (or to the claim of a business owned
 by your spouse or a business jointly owned by you and your spouse), not to a separate claim you
 might have.

 49. Can I change anything in the Release?

 No. If you mark through or strike out anything in the Release and Covenant Not to Sue, or you add
 any language to it, the GCCF cannot accept it and cannot pay you a Final Payment.

 50. How long will it take for me to get a Full Review Final Payment?

 The GCCF will fully evaluate and determine your Full Review Final Payment Claim within 90 days
 after receipt of your substantiated claim. You will be notified of the amount of the Final Payment
 Offer or of any missing documents that are necessary to be able to evaluate the claim within this 90-
 day period. Claimants who previously submitted a Final Claim will have their claim reviewed on a
 priority basis.

 51. How long do I have to apply for a Full Review Final Payment?

 You may submit a Full Review Final Payment Claim at any time prior to the close of the GCCF
 Program on August 22, 2013 (even if you have previously submitted and received an Emergency
 Advance Payment or an Interim Payment). You may accept only one Final Payment.

 52. Where will my Full Review Final Payment be sent?

 The GCCF will send Final Payments by wire transfer or by a check mailed to you. You will indicate
 in the Full Review Final Payment Claim Form how you want your payment to be made and where it
 is to be sent.

 53. What can I do if I disagree with the GCCF's decision on my claim?

 For all claims other than those for physical injury, if you disagree with the GCCF’s decision on your
 claim, or if the GCCF has not acted on your claim within 90 days of the date the claim was presented
 under the OPA to BP or to the GCCF, you may submit the claim to the National Pollution Funds
 Center (“NPFC”), the Coast Guard office responsible for evaluating and approving OPA claims or as
 an alternative you may file a claim in court, including in the multidistrict litigation pending before the
 United States District Court for the Eastern District of Louisiana, titled, In re Oil Spill by the Oil Rig
 “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179. The multidistrict
 litigation is a consolidated grouping of federal law suits arising out of the Spill. If you are represented
 by an attorney, confer with your attorney about your options. General information on the procedure
 for filing a claim with the NPFC may be obtained from the Director of the National Pollution Funds
 Center, NPFC MS 7100, U.S. Coast Guard, 4200 Wilson Blvd., Suite 1000, Arlington, VA 20598-
 7100, (800) 280-7118, or from the NPFC website at www.uscg.mil/npfc/claims. Information


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 regarding the multidistrict litigation may be obtained from the court’s website at
 www.laed.uscourts.gov. A claim for physical injury is not a claim under OPA and therefore cannot be
 submitted to the NPFC.

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 SECTION 6 – INFORMATION ON INTERIM PAYMENT CLAIMS



 54. What is an Interim Payment Claim?

 An Interim Payment Claim is a claim only for documented past damages caused by the Spill. An
 Interim Payment is not an Emergency Advance Payment.

 55. How do I apply for an Interim Payment?

 You have to fill out, sign and send back to the GCCF an Interim Payment Claim Form, along with
 documents to support your claim if you have not previously submitted those documents. If you
 previously submitted an Emergency Advance Payment Claim to the GCCF, the GCCF will mail you a
 packet containing the Interim Payment Claim Form. If you do not get that packet, see Section 8 –
 How to File a Full Review Final Payment Claim or an Interim Payment Claim for the steps on how to
 get the Full Review Final Payment Claim Form and how to submit it to the GCCF.

 56. I have already submitted a Final Claim. Can I now submit an Interim Claim?

 If you have already submitted to the GCCF a Claim Form in which you asserted a Final Payment
 Claim and now would like to switch and seek an Interim Payment instead, you must submit an Interim
 Payment Claim Form to the GCCF and check the appropriate box on the first page of the Claim Form
 stating that you previously filed a Final Claim Form and now wish to file an Interim Payment Claim.
 You cannot seek or receive an Interim Payment unless you have submitted an Interim Payment Claim
 Form to the GCCF.

 57. What kind of claims can I make on an Interim Payment Claim?

 If you suffered damages or injuries caused by the Spill and are eligible to apply for a Full Review
 Final Payment, you can submit an Interim Payment Claim for the same types of claims for which
 Claimants could seek Emergency Advance Payments: Removal and Clean Up Costs, Damage to Real
 or Personal Property, Lost Earnings or Profits, Loss of Subsistence Use of Natural Resources
 (Individuals only), or Physical Injury or Death (Individuals only).

 58. What kind of losses will be paid on an Interim Payment Claim?

 An Interim Payment will cover only past losses caused by the Spill. An Interim Payment will not
 compensate you for future losses or damages. For future losses or damages to be evaluated and paid,
 you must submit a Full Review Final Payment Claim. If you have submitted an Interim Payment
 Claim, you may submit a subsequent Full Review Final Payment Claim. If appropriate, the GCCF
 will adjust the calculation of a previously paid Emergency Advance Payment and include any
 additional compensation as part of the Interim Payment.


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 59. How often can I apply for an Interim Payment?

 You may submit an Interim Payment Claim only once each quarter of each calendar year throughout
 the duration of the GCCF Claims Program which concludes on August 22, 2013, or until the
 submission of either a Quick Payment Final Claim or a Full Review Final Payment Claim. The first
 quarter begins now and concludes on March 31, 2011. Subsequent quarters will be April 1 through
 June 30, July 1 through September 30, and October 1 through December 31 of each of each year.

 60. I have an emergency situation and I cannot wait to submit my next Interim Claim until the
 next quarter. Is there a process where I can receive permission to submit my Interim Claim
 early?

 Yes. If you are able to document an emergency that is determined to constitute exigent circumstances
 the Claims Administrator will grant you permission to submit your Interim Claim early.

 61. What period of time is covered by an Interim Payment Claim?

 Evaluation of your Interim Payment Claim consists of a review of your losses measured over the
 period that begins with the Spill and concludes at the end of the month for which you have provided
 the most recent actual financial data (“Loss Measurement Period”).

 62. Do I have to submit documents to be paid an Interim Payment?

 Yes. You must provide supporting documentation to demonstrate all past losses and damages
 sustained as a result of the Spill. The Gulf Coast Claims Facility Document Requirements
 accompanying the Claim Form identify the supporting documents required for each type of claim. If
 you previously submitted a claim with supporting documentation, you do not need to resubmit that
 documentation. However, you must supplement and update your documentation already on file with
 the GCCF to include the applicable Loss Measurement Period. If you have not previously submitted a
 claim, you must provide complete substantiation and documentation to support your claim for losses
 and damages. If you qualify, your Interim Payment will include payments only for the losses that the
 documents you have submitted prove. For example, if you submit a claim for past Lost Earnings or
 Profits and do not submit the records to show income during any week or period since the Spill, you
 will not be paid any damages for that period.

 63. What if my claim is missing any documents needed to prove my Interim Payment Claim?

 If you fail to submit the required documents to prove your losses or injuries, you will not be paid for
 them in an Interim Payment. The GCCF will not send any deficiency notices to you to notify you of
 any documents missing from your file. Instead, your losses will be determined solely on the basis of
 the documents you have submitted.

 64. Will any deductions be taken out of my Interim Payment?

 Yes. The same deductions that apply to a Full Review Final Payment Claim apply to an Interim
 Payment Claim:

    1. Any prior payments to you by BP, the GCCF, or the Coast Guard will be deducted from your
       Interim Payment.
    2. If you make a claim for Lost Individual Earnings, any amounts you have received from
       unemployment compensation, as severance pay or any other employment benefit since the



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       Spill, will be counted as income to you since the Spill and will reduce any award for past
       earnings losses.
    3. On any Lost Income claim from an Individual Claimant or a Business Claimant, amounts you
       have received since the Spill from any insurance or other program as replacement income will
       be deducted from your Interim Payment.
    4. Payments from insurance for the losses on injuries for which you seek benefits on Removal and
       Clean Up Costs, Damage to Real or Personal Property, Loss of Subsistence Use of Natural
       Resources, or Physical Injury or Death will be deducted from Interim Payment.
    5. Amounts to pay any legally authorized liens, garnishments or other attachments against you that
       the GCCF has received will be deducted from your Interim Payment.

 However, amounts you have received from charities will not be deducted from your Interim Payment.

 65. Do I have to sign a Release to be paid an Interim Payment?

 No. To receive an Interim Payment, you will not be required to execute a Release or waive any rights
 to assert additional claims, to submit an individual legal action, or to participate in other legal actions
 associated with the Spill.

 66. How long will it take for me to get an Interim Payment?

 Within 90 days of receipt of a substantiated claim for an Interim Payment, the GCCF will evaluate
 and review the submitted documentation. The GCCF will mail you notice of your eligibility and
 calculated amount for payment of your Interim Payment Claim.

 67. If I qualify for an Interim Payment, can I decide to be paid a Quick Payment?

 Yes. You can accept a Quick Payment any time after you have been found eligible for or have been
 paid an Interim Payment.

 68. If I am paid an Interim Payment, can I still submit a Full Review Final Payment Claim?

 Yes. You can submit a Full Review Final Payment Claim at any time until the Program closes.

 69. If I qualify for an Interim Payment, will I receive a Final Payment Offer?

 You will receive notice of your eligibility and calculated amount for payment of your Interim
 Payment Claim. At the same time, if the documents you have submitted permit the GCCF to do so,
 the GCCF also will provide you with the GCCF’s current valuation and Final Payment Offer for your
 claim; you will have the option to continue with the Interim Payment Claim process or to accept the
 GCCF’s Final Payment Offer.

 70. If I receive both an Interim Payment Offer and a Final Payment Offer and decide to accept
 the Interim Payment, is there a chance that my Final Payment Offer could go down?

 Yes. If you make a subsequent claim for a Final Payment, the GCCF’s valuation and Final Payment
 Offer for your claim may change at a later date to reflect additional information and less uncertainty
 regarding damages.

 71. How long do I have to apply for an Interim Payment?




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 You may submit an Interim Payment Claim at any time prior to the close of the GCCF Program on
 August 22, 2013.

 72. Where will my Interim Payment be sent?

 The GCCF will send Interim Payments by wire transfer or by a check mailed to you. You will
 indicate in the Interim Payment Claim Form how you want your payment to be made and where it is
 to be sent.

 73. Will the awards be subject to Federal estate or Federal income tax?

 The GCCF will report payments made annually to federal and state taxing authorities, using a Form
 1099 or state form equivalent. The GCCF will send you a copy of that form, but cannot give you tax
 advice regarding any payment issued to you. For additional information from the Internal Revenue
 Service concerning reporting payments from the GCCF, click here. However, you should consult your
 own tax advisor to determine the impact of any payment you receive from the GCCF on your
 individual tax situation.

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 SECTION 7 - WHO MAY FILE A CLAIM



 74. Who is an Eligible Claimant?

 Individuals and Businesses that have incurred damages as a result of the Spill may submit a claim to
 the GCCF for Removal and Clean Up Costs, Damage to Real or Personal Property, Lost Earnings or
 Profits, Loss of Subsistence Use of Natural Resources, or Physical Injury or Death.

 75. Do I have to live in the Gulf region to make a claim?

 No. You do not have to live in the Gulf region to file a claim for costs and damages incurred as a
 result of the oil discharges from the Spill. However, the GCCF will only pay for harm or damage that
 is proximately caused by the Spill.

 76. Do I have to be a United States citizen or have proof of legal residency to be eligible to
 receive payment from the GCCF?

 No, you do not need to be a United States citizen or submit proof of legal residency to be eligible to
 receive a payment under the GCCF eligibility criteria.

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 SECTION 8 - HOW TO FILE A FULL REVIEW FINAL PAYMENT CLAIM OR AN
 INTERIM PAYMENT CLAIM



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 77. If I did not receive one in the mail from the GCCF, how do I get the Claim Form I need?

 You can obtain and submit a Claim Form and supporting documentation in any one of the following
 ways:

    1. Through the Website: You can complete a Claim Form on this website by clicking on the
       appropriate online filing tab on the left side of the Home Page. The online instructions will tell
       you how to complete the correct Claim Form and how to submit the form and the supporting
       documents online. You can also download a Claim Form or request that a Claim Form be
       mailed to you by clicking on the tab, “File a Paper Interim or Full Review Final Claim Form.”
    2. By Visiting a GCCF Claims Site Office: You can complete a Claim Form and submit
       documents in person at one of the GCCF Claims Site Offices, where a Claims Evaluator will
       help you fill out the form. You may obtain a list of the GCCF Claims Site Offices near you by
       clicking here.
    3. By Telephone: You can get a Claim Form by calling the GCCF toll free number, 1-800-916-
       4893. TTY: 1-866-682-1758. Staff members are available to take your call at this number from
       9:00 a.m. to 9:00 p.m. (Eastern Time), Monday through Friday, and 9:00 a.m. to 6:00 p.m.
       (Eastern Time), Saturday and Sunday. You will be asked for your name and address. The
       GCCF will mail you a Claim Form for you to fill out and sign.

 78. Are Claim Forms available in other languages?

 Yes. Claim Forms are available in Spanish, Vietnamese and Khmer. To access these Claim Forms,
 visit: www.GulfCoastClaimsFacility.com. For additional assistance call the Toll Free Number 1-800-
 916-4893.

 79. Where do I submit the Claim Form when complete?

 You can submit your Claim Form and supporting documents in one of these ways:

    1. By Regular Mail:

       Gulf Coast Claims Facility
       Kenneth R. Feinberg, Administrator
       P.O. Box 9658
       Dublin, OH 43017-4958
    2. By Overnight, Certified or Registered Mail:

       Gulf Coast Claims Facility
       Kenneth R. Feinberg, Administrator
       5151 Blazer Pkwy.
       Suite A
       Dublin, OH 43017
    3. By Fax: You can fax your completed Claim Form and documents to the GCCF at 1-866-682-
       1772. However, a signed Release cannot be submitted by Fax. We must receive an original
       signed copy of a Release.
    4. By Email: You can scan your completed Claim Form and documents and email PDF files to the
       GCCF at info@gccf-claims.com. However, a signed Release cannot be submitted by email. We
       must receive an original signed copy of a Release.



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 80. Does it cost anything to file a claim?

 No. There is no fee for filing a claim with the GCCF.

 81. Can I submit photographs or videos in support of my claim?

 Yes. You can submit photographs and videos in support of your claim.

 82. What if I need more space to write on the Claim Form?

 If you need additional space for one or more of the sections in the Claim Form, photocopy the section
 before completing it and make as many copies as you need. You must attach these copies to your
 Claim Form. Include your name, address and Claimant Identification Number on all pages you
 submit. If you do not have a Claimant Identification Number, include your Social Security Number or
 Employer Identification Number on all pages you submit.

 83. How will I know that the GCCF has received my claim?

 You will receive a confirmation from the GCCF that will confirm your claim submission and tell you
 the unique 7-digit Claimant Identification Number that is assigned to your claim. The GCCF will
 enter for processing all submitted Claim Forms, regardless of the method of submission, into the
 GCCF central database.

 84. How do I submit supplemental information for a claim I already filed?

 Make sure you provide your Claimant Identification Number along with any supplemental
 information you submit. You may submit supplemental information in the following ways:

    1. By Visiting a GCCF Claims Site Office: You can submit supplemental information to a Claims
       Evaluator at any of the GCCF Claims Site Offices. You may obtain a list of the GCCF Claims
       Site Offices near you by clicking here.
    2. By Regular Mail: You may submit supplemental information by U.S. Mail to the following
       address:

       Gulf Coast Claims Facility
       Kenneth R. Feinberg, Administrator
       P.O. Box 9658
       Dublin, OH 43017-4958
    3. By Overnight, Certified or Registered Mail: You may submit supplemental information by
       Overnight, Certified or Registered Mail to the following address:

       Gulf Coast Claims Facility
       Kenneth R. Feinberg, Administrator
       5151 Blazer Pkwy.
       Suite A
       Dublin, OH 43017
    4. By Fax: You may fax supplemental information to 1-866-682-1772.
    5. By Email: You may submit supplemental information in a PDF file to the GCCF at info@gccf-
       claims.com.

 85. Can someone else talk to the GCCF about my claim?



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 Yes, as follows:

    1. If you are represented by a lawyer. If you are represented by a lawyer, the GCCF will
       communicate with your lawyer rather than directly with you. You should identify your lawyer
       on the Claim Form.
    2. If you have an Authorized Legal Representative. An Authorized Legal Representative is a
       person who is authorized to act for a deceased person who was affected by the Spill, or for a
       person affected by the Spill who is unable to act for himself or herself. The Authorized Legal
       Representative must submit to the GCCF a copy of the paperwork that shows the authority to
       act on behalf of a person affected by the Spill, such as a power of attorney, an order appointing
       a guardian, letters testamentary or letters of administration for an estate.

 86. Are the fees attorneys can charge limited by law or the GCCF?

 Attorneys’ fees are not limited by the GCCF. If you want to know whether there any are restrictions
 on attorneys’ fees in your jurisdiction, contact a local bar association.

 87. I received a call from an individual from Guidepost who explained that he was assisting
 GCCF in confirming information submitted in my Claim Form. Who is Guidepost and what is
 its role in the claims process?

 Guidepost has been retained by the GCCF to assist GCCF in auditing and monitoring claims.
 Guidepost may be calling claimants or other parties to ask for confirmation of information or
 documentation submitted by a claimant. Any information received by Guidepost is subject to the
 same privacy policy that applies to other information submitted to the GCCF.

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 SECTION 9 – INFORMATION ON PAYMENTS



 88. Can I receive payment at the Claims Site Office?

 No. Payments will be issued through one central payment distribution center and will be sent to
 Claimants by overnight delivery.

 89. Can I receive my payment through direct deposit?

 Yes. You can elect to receive your payment as a wire transfer directly to your bank account.

 90. In what ways can I elect to receive payment?

 You can elect to receive payment by wire transfer or check.

 91. Can payments be made through direct deposit to foreign banks?

 No.

 92. Can direct deposit payments be made to money market or brokerage accounts?


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 Yes.

 93. If I elect to receive my payment by check, how will it be sent to me?

 Your payment will be sent via overnight mail, either through Federal Express or the United States
 Postal Service’s Express Mail.

 94. Where will I be able to cash my check?

 If you do not have your own bank account, the GCCF has made arrangements with Whitney National
 Bank for check-cashing services. Whitney National Bank has branches located throughout the
 affected region. If you are an Individual and not a Business, and you do not have your own bank
 account, you may go to any branch of Whitney National Bank and cash up to $5,000 of your payment
 in one day. (No fee will be charged by Whitney National Bank for this service.)

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 SECTION 10 – INFORMATION ON CLAIM TYPES



 95. For what Claim Types will the GCCF provide compensation?

 The GCCF will provide compensation to qualifying Claimants for the following Claim Types:

    1. Removal and Clean Up Costs;
    2. Damages to Real or Personal Property;
    3. Lost Earnings or Profits;
    4. Loss of Subsistence Use of Natural Resources;
    5. Physical Injury or Death.

 96. What are Removal and Clean Up Costs?

 Removal and Clean Up costs are costs that result from actions you took to prevent, minimize, mitigate
 or clean up damages or anticipated damages from the Spill.

 97. What is Real Property?

 Real Property is land and buildings, houses, or objects affixed or attached to the land.

 98. What are damages to Real Property?

 Damages include any physical injury or damage to the Real Property.

 99. What is Personal Property?

 Personal Property is equipment, boats, cars, furniture, or objects not affixed or attached to the land
 and any property not considered real property.

 100. What are damages to Personal Property?


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 Damages include any physical injury or damage to the Personal Property.

 101. What are Lost Earnings?

 Lost Earnings occur when you experience a loss of or reduction in your ability to earn wages or
 income because of the Spill. If you were unable to engage in your normal job because of the Spill or
 made less money than usual because of the Spill, you may have experienced Lost Earnings.

 102. What are Lost Profits?

 Lost Profits are loss of income or profits by a Business. If your Business experienced a temporary or
 permanent loss or reduction in profits due to the Spill, you can make a claim for Lost Profits. Your
 Business may also have experienced Lost Profits if it was forced to operate under different conditions
 than those that existed prior to the Spill.

 103. What is Loss of Subsistence Use of a Natural Resource?

 Loss of Subsistence Use of a Natural Resource is when an Individual or Business can no longer use a
 natural resource to obtain food, shelter, clothing, medicine or other minimum necessities of life
 because the natural resource has been injured, destroyed or lost because of the Spill. For example, an
 Individual who uses fish or other wildlife for food but can no longer do so because of the Spill may
 file a Loss of Subsistence Use claim.

 104. What is a Physical Injury?

 A physical injury is an injury to the body proximately caused by the Spill or the explosion and fire
 associated with the Deepwater Horizon incident, or by the cleanup of the Spill. An injury that relates
 to emotional or mental health is not a physical injury and is not an eligible claim.

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 SECTION 11 – CLAIMANT BILL OF RIGHTS



 105. You have the right to equal treatment.

 You have the right to be treated with respect, dignity, and fairness, without regard to your race, color,
 sexual orientation, national origin, religion, gender, or disability.

 106. You have the right to equal access to the claims process.

 If you have a disability, the Gulf Coast Claims Facility ("GCCF") will make reasonable
 accommodations in order for you to access the services of the GCCF.

 If you have difficulty communicating in English, the GCCF will provide translation services for you
 to communicate about the claims process with the GCCF.

 If you have difficulty reading or writing, the GCCF will endeavor to explain all documents and forms
 in a plain and simple manner, and assist you in filing a claim form.


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 107. You have the right to privacy.

 Your submitted personal information will be kept secure by the GCCF and will only be used and
 disclosed for legitimate purposes in connection with administering the GCCF.

 108. You have the right to information about your claim.

 You can meet with a member of the GCCF staff to ask any questions you have about the claims
 process. Once you have filed a claim with the GCCF, you have the right to check the status of that
 claim by calling the toll-free number (1-800-916-4893 (TTY 1-866-682-1758)), visiting the GCCF's
 internet site, www.GulfCoastClaimsFacility.com, or visiting a GCCF office in person. (A list of site
 offices is available by phone or on-line.)

 109. You have the right to a fair review and determination of your claim.

 The GCCF Claims Evaluator will consider all properly submitted evidence that you provide to prove
 your loss.

 110. You have the right to a timely claim decision.

 The GCCF will issue a timely determination of your claim. If the GCCF needs additional information
 in order to decide your claim, the GCCF will notify you in a timely manner of the request for
 additional information.

 111. You have the right to timely payment.

 If you qualify for a payment, you will be paid promptly.

 112. You have the right to ethical treatment.

 All representatives of the GCCF will act ethically and in good faith.

 113. You have the right to be represented by an attorney of your choosing.

 You have the right to be represented by an attorney of your choosing and to consult with that attorney
 before accepting any settlement or signing a release of legal rights.

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